            Case 6:19-bk-11430-MH          Doc 66 Filed 05/26/21 Entered 05/26/21 15:48:28            Desc
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                 1    Lynda T Bui, Trustee
                      3550 Vine Street, Ste. 210
                 2    Riverside, CA 92507
                      Telephone: (949) 340-3400
                 3    Facsimile:   (949) 340-3000
                      Email: Trustee.Bui@shulmanbastian.com
                 4
                      Chapter 7 Trustee
                 5

                 6

                 7

                 8                            UNITED STATES BANKRUPTCY COURT

                 9                 CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION

               10     In re                                       )       Case No. 6:19-bk-11430-MH
                                                                  )
               11     MICHAEL L WILLIAMS,                         )       Chapter 7
                                                                  )
               12                           Debtor.               )       STIPULATION BETWEEN THE
                                                                  )       CHAPTER 7 TRUSTEE AND NEWREZ
               13                                                 )       LLC D/B/A SHELLPOINT MORTGAGE
                                                                  )       SERVICING TO CONTINUE THE
               14                                                 )       HEARING ON THE MOTION FOR
                                                                  )       RELIEF FROM THE AUTOMATIC STAY
               15                                                 )       (DK 45)
                                                                  )
               16                                                 )       Current Hearing:
                                                                  )       Date:       June 8, 2021
               17                                                 )       Time:       11:00 a.m.
                                                                  )       Ctrm:       303
               18                                                 )       Place:      US Bankruptcy Court
                                                                  )                   3420 Twelfth Street
               19                                                 )                   Riverside, CA 92501

               20             This Stipulation is entered into by and between Lynda T. Bui, solely in her capacity
               21     as the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Michael L. Williams
               22     (“Debtor”) and Movant, NewRez LLC d/b/a Shellpoint Mortgage Servicing (“Movant”).
               23                                             RECITALS
               24             A.    The Debtor filed a voluntary petition for relief under Chapter 13 of the
               25     Bankruptcy Code on February 25, 2019 (“Petition Date”) in the United States Bankruptcy
               26     Court, Central District of California, Riverside Division, initiating Case No. 6:19-bk-11430-
               27     MH.
               28
   Lynda T. Bui,
Chapter 7 Trustee
                                                                      1
  3550 Vine Street
     Suite 210
Riverside, CA 92507
Case 6:19-bk-11430-MH   Doc 66 Filed 05/26/21 Entered 05/26/21 15:48:28   Desc
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        Case 6:19-bk-11430-MH                      Doc 66 Filed 05/26/21 Entered 05/26/21 15:48:28                                      Desc
                                                    Main Document    Page 3 of 3
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3550 Vine Street, Ste. 210, Riverside, CA 92507


A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN THE CHAPTER
7 TRUSTEE AND NEWREZ LLC D/B/A SHELLPOINT MORTGAGE SERVICING TO CONTINUE
THE HEARING ON THE MOTION FOR RELIEF FROM THE AUTOMATIC STAY (DK 45) will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 26, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
      Gregory Ashcraft firm@ashcraftfirm.com, ashcraftgr66567@notify.bestcase.com
      Lynda T. Bui (TR) trustee.bui@shulmanbastian.com, C115@ecfcbis.com
      Julian T Cotton jcotton@padgettlaw.net, bkecf@padgettlawgroup.com
      Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
      Sean C Ferry sferry@raslg.com, sferry@ecf.courtdrive.com
      Alexander G Meissner ameissner@pralc.com
      Lee S Raphael ecfcca@ecf.courtdrive.com, ecfcca@ecf.courtdrive.com
      Mukta Suri Mukta.Suri@BonialPC.com
      United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
      Mary D Vitartas mary.vitartas@bonialpc.com, bkecf@padgettlawgroup.com
      Arnold H. Wuhrman Arnold@WuhrmanLaw.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 26, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 26, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  May 26, 2021                          Tonia Wooten                                             /s/Tonia Wooten
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
